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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


TAEWOO KIM, KASHYAP PATEL,                 No. 1:23-cv-02921
KERRY WOOLLEY, and KEN WORSHAM,
Individually and on Behalf of All Others
Similarly Situated,
                                           Honorable Georgia N. Alexakis
                   Plaintiff,
   v.

JUMP TRADING, LLC, JUMP CRYPTO
HOLDINGS, LLC (f/k/a 1HOLD1 LLC),
KANAV KARIYA, and WILLIAM
DISOMMA,

                   Defendants.


             DEFENDANTS’ MOTION TO COMPEL ARBITRATION
                      OF AMENDED COMPLAINT
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                                PRELIMINARY STATEMENT

       Anyone reviewing the factual allegations of the original Complaint filed by Plaintiff

Taewoo Kim would think that the defendants in this action were Terraform Labs Pte. Ltd. (“TFL”)

or Do Kwon (“Kwon”). That remains true even after Kim filed the now operative Amended

Complaint with several other new plaintiffs (“Plaintiffs”). Just as in Kim’s initial pleading,

Plaintiffs allege that TFL and Kwon masterminded a scheme to manipulate the price of the digital

asset Terra USD (“UST”). But Plaintiffs did not sue TFL and Kwon, presumably because they

know that the broad arbitration provision to which they expressly agreed would indisputably

require them to arbitrate these disputes.

       Instead, in an attempt to sidestep that arbitration agreement, Plaintiffs assert claims only

against Defendants Jump Trading, LLC and Jump Crypto Holdings LLC (collectively “Jump”),

William DiSomma (co-founder of Jump), and Kanav Kariya (former President of Jump Crypto)

(together with Jump, “Defendants”). Plaintiffs, however, cannot avoid arbitration by not naming

as defendants the alleged masterminds of the purported fraudulent scheme in which Defendants

supposedly participated.    Nor can they avoid arbitration by removing from the Amended

Complaint specific factual allegations in the original Complaint that make plain that arbitration is

required. Rather, based on clear law from the Supreme Court, this Circuit, and courts around the

country, this Court should compel arbitration.

       Plaintiffs allege that they bought UST and loaned it to the Anchor Protocol (a “savings

protocol” available to users of the Terraform blockchain) to earn interest on their deposits. Indeed,

in the Amended Complaint, Plaintiffs allege that over 95% of their losses are attributable to UST

they deposited into the Anchor Protocol. To use the Anchor Protocol, Plaintiffs agreed to be bound

by the Anchor Terms of Service (“Anchor TOS”), to which TFL was the named counterparty. The

Anchor TOS include a broad arbitration clause as well as a clear and unmistakable delegation
                                                 1
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clause. That arbitration clause requires binding arbitration of any dispute “arising out of or relating

to the Interface, this Agreement, . . . or any other acts or omissions for which you may contend

that we are liable,” and also explicitly delegates any threshold “claim or controversy as to

arbitrability” to the arbitration tribunal. But instead of arbitrating their claims as they agreed,

Plaintiffs try to avoid arbitration by only naming the Defendants in the Amended Complaint and

omitting TFL. They cannot circumvent arbitration in this manner. Under the Federal Arbitration

Act (“FAA”) and controlling precedent, suing only nonsignatories does not allow Plaintiffs to skirt

their obligations to arbitrate.

        Because the arbitration provision clearly and unmistakably delegates to the arbitration

tribunal, among other things, “any claim or controversy as to arbitrability,” an arbitration

tribunal—not a court—must decide whether Plaintiffs are required to arbitrate their claims. Thus,

once the Court determines that a valid arbitration agreement exists (one unquestionably does),

Plaintiffs must be compelled to arbitrate. Any remaining questions, including whether Defendants,

as nonsignatories, can enforce the arbitration clause against Plaintiffs (or whether Plaintiffs’ claims

fall within the agreement’s scope), are for the arbitration tribunal to decide.

        But even were this Court to conclude that this Court, rather than the arbitration tribunal,

should resolve the threshold question of whether a nonsignatory may compel arbitration, it should

find that Plaintiffs are estopped from avoiding arbitration. Plaintiffs’ theory of liability rests on

alleged collusive misconduct between Defendants and a signatory, TFL. Under clear law from

this Court, when a plaintiff who agreed to an arbitration provision alleges collusive behavior

between a signatory to that arbitration clause and a nonsignatory, that plaintiff must arbitrate his

claims against the nonsignatory. While that should be the end of the matter given the presence of

the delegation clause, were the Court to delve further into the scope of what claims the arbitration



                                                  2
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clause covers, the Court should find that all of Plaintiffs’ claims against Defendants fall within the

broad scope of the arbitration clause.

                                                  FACTS 1

I.        Plaintiffs Agreed to an Arbitration Provision with a Delegation Clause by Using the
          Anchor Protocol.

          A.      The Anchor Protocol Explained.

          The Anchor Protocol was a function on the Terraform blockchain that permitted users to

deposit the stablecoin UST and, in exchange, receive aUST and thereby earn interest on their

deposit. See Am. Compl. ¶¶ 29, 130. 2 TFL launched it on March 17, 2021 (Compl. ¶ 45), 3 which

was before the alleged manipulative conduct in May 2021 that is at the heart of the Complaint and

before the alleged Class purchased UST and aUST. Am. Compl. ¶ 1 (defining “Class Period” as

May 23, 2021, to May 25, 2022). As alleged in the original Complaint, Kwon and TFL publicized

the possibility of earning a substantial (i.e. 20%) return on deposits of UST on the Anchor Protocol.


1
  Defendants draw these facts from the allegations in the Amended Complaint and the original Complaint,
but do not concede that any of those facts are true, and instead assume their truth only for the purposes of
this motion to compel arbitration. While Plaintiffs are bound by the allegations in their Amended Complaint,
Defendants, on this motion, may also rely on Plaintiff Kim’s allegations in his initial Complaint as
admissions of a party opponent. See Orgone Cap. III, LLC v. Daubenspeck, 912 F.3d 1039, 1048 (7th Cir.
2019) (holding that “amended pleading does not operate as a judicial tabula rasa” and thus “a party may
offer earlier versions of its opponent’s pleadings as evidence of the facts therein” (citation omitted)). Doing
so here is appropriate because a motion to compel arbitration is reviewed under a standard similar to a
motion for summary judgment, rather than a motion to dismiss. See infra Facts, Section I.B & n. 6;
Thompson v. AT&T Servs., Inc., No. 17 C 3607, 2018 WL 4567714, at *7 (N.D. Ill. Sept. 24, 2018)
(recognizing that motion to compel arbitration “must be decided on evidence, not allegations”). Thus, in
resolving motions to compel arbitration, courts consider plaintiffs’ allegations in the original pleadings.
See, e.g., Daschbach v. Rocket Mortg., LLC, No. 22-CV-346-JL, 2023 WL 2599955, at *3 (D.N.H. Mar.
22, 2023) (“[T]he court will consider [plaintiff’s] admissions in his original complaint in deciding
[defendant’s] motion to compel arbitration under the summary judgment standard….”); Larson v. Speetjens,
No. C 05-3176 SBA, 2006 WL 2567873, at *5 n.8 (N.D. Cal. Sept. 5, 2006) (considering “[p]laintiffs’
statements in the original complaint in its ruling on the instant motion [to compel arbitration]”), order
clarified, No. C 05-3176 SBA, 2006 WL 3365589 (N.D. Cal. Nov. 17, 2006).
2
  Amended Complaint, Kim v. Jump Trading LLC, No. 1:23-cv-02921, Dkt. No. 60 (N.D. Ill. Aug. 9, 2024)
(“Am. Compl.”).
3
    Complaint, Kim v. Jump Trading LLC, No. 1:23-cv-02921, Dkt. No. 1 (N.D. Ill. May 9, 2023) (“Compl.”).

                                                      3
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Compl. ¶ 2 (“In addition, Kwon and TFL touted the possibility of earning stable returns by

depositing UST in a ‘yield-bearing’ account called the ‘Anchor Protocol,’ in exchange for a deposit

receipt in the form of aUST, which could later be swapped for the original amount of UST, plus

interest.”); id. ¶ 45 (“Kwon further marketed the possibility of depositing UST into TFL’s ‘yield-

bearing’ savings account called the Anchor Protocol.”).

        B.       Plaintiffs Used the Anchor Protocol and Agreed to its Terms of Service.

        In his original Complaint, Plaintiff Kim admitted that he accessed and used the Anchor

Protocol to obtain the “nearly 20% interest” promised to holders of aUST. Compl. ¶¶ 73, 83–84

(stating that Plaintiff Kim swapped UST “for aUST via the Anchor Protocol”). Indeed, Kim

provided a detailed accounting of the UST amounts he deposited into the Anchor Protocol in

exchange for aUST and the dates for each deposit. Id. ¶¶ 83–84. Now, in an apparent effort to

evade arbitration, Plaintiff Kim deletes from the Amended Complaint those details that

demonstrably establish his use of the Anchor Protocol. Compare Compl. ¶¶ 83–84 with Am.

Compl. ¶ 120. The new Plaintiffs do not allege the specific amounts of UST they swapped for

aUST. Nevertheless, they admit that they deposited the overwhelming majority of their UST

holdings into the Anchor Protocol. Am. Compl. ¶¶ 128–130 (alleging that of “more than $2 million

in [Plaintiffs’] actual damages” from UST’s collapse, “approximately $1.98 million of the named

Plaintiffs’ collective UST losses are attributable to UST tokens that were loaned to the ‘Anchor

Protocol’”). 4




4
  In his original Complaint, Plaintiff Kim alleged that the vast majority of UST held by other purchasers in
the market was deposited into the Anchor Protocol. Compl. ¶ 72 (alleging that as of May 6, 2022, 14 billion
of 19 billion UST in circulation was in the Anchor Protocol). That too is deleted from the Amended
Complaint.

                                                     4
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        By accessing and using the Anchor Protocol, Plaintiffs agreed to the Anchor TOS. 5 The

Anchor TOS are an agreement to which TFL is the named counterparty, i.e., the signatory. See

Declaration of Arrash Chris Amani, Ex. A, Patterson v. Terraform Labs, Pte. Ltd., No. 5:22-cv-

03600, Dkt. No. 122-1 (N.D. Cal. May 8, 2023) (“Amani Decl.”). 6 When connecting a digital

wallet to use the Anchor Protocol, users are first presented with a link to the Anchor TOS that they

are required to accept by clicking a button immediately above an acknowledgement stating, “By

connecting, I accept Anchor’s Terms of Service.” See id. ¶¶ 2–3. Those words appear on the

wallet connection dialog box presented online. Id. ¶ 3. The dialog box presented to prospective

users also permits them to review the Anchor TOS by a link in bright green text to indicate a

hyperlink. Id. ¶ 4. In underlined text in the Anchor TOS, the prospective user is informed that the

Anchor TOS contain a mandatory individual arbitration clause. Id. ¶ 5. The Anchor TOS have

been in place since the Anchor Protocol launched and, in relation to the issues relevant here, have

not changed. Id. ¶ 2.

        The Anchor TOS contain an arbitration clause as well as a clear and unmistakable

delegation clause. The Anchor TOS’s arbitration clause requires any dispute “arising out of or


5
 Although Plaintiffs specifically deny being “in privity with any Defendants on any contract” (Am. Compl.
¶ 128), they tellingly stop short of denying that they agreed to the Anchor TOS, including their broad
arbitration provision.
6
  This Court may look to facts outside of the Amended Complaint given that the standard for a motion to
compel arbitration is akin to the standard applied at summary judgment. See Wallrich v. Samsung Elecs.
Am., Inc., 106 F.4th 609, 618 (7th Cir. 2024) (“While the FAA does not provide the evidentiary standard
applicable for determining whether to compel arbitration, we (as well as our sister circuits) have analogized
the standard needed to that required at summary judgment. A district court may conclude as a matter of
law that parties did or did not enter into an arbitration agreement only if no genuine dispute of material fact
exists as to the formation of the agreement.”); Shapiro v. Residential Homes for Rent, LLC, No. 22 C 6854,
2023 WL 3436401, at *2 n.2 (N.D. Ill. May 12, 2023) (“The Court may consider documents outside the
pleadings in ruling on a motion to compel arbitration.”). TFL filed the Amani Declaration in support of its
motion to compel arbitration in the Patterson case in the Northern District of California, where the plaintiff
alleges the same facts on which Plaintiffs bring their claim here (except that it alleges securities, not
commodities, fraud). A copy of the Amani Declaration has been filed in this case as Exhibit 1 to the
Declaration of Jonathan D. Cogan, dated September 26, 2024.

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relating to the Interface, this Agreement, . . . or any other acts or omissions for which you may

contend that we are liable” to be “finally resolved by arbitration in Singapore in accordance with

the Arbitration Rules of the Singapore International Arbitration Centre.” See Amani Decl., Ex. A

§ 18. The Anchor TOS further delegate to the arbitration tribunal the power to decide “any

question regarding this Agreement’s existence, validity or termination” and “any claim or

controversy as to arbitrability.” See id. at § 18. 7 The term “Interface” refers to “https://

anchorprotocol.com/, a website (‘Site’) that provides access to https://app.anchorprotocol.com/, a

website-hosted user interface (the ‘App’) (collectively referred to as the ‘Interface’).” See id., Ex.

A Preamble. The term “Agreement” refers to the Anchor TOS. Id.

II.       The Anchor Protocol Is Central to Plaintiffs’ Claims.

          In the original Complaint, Plaintiff Kim openly described the key role of the Anchor

Protocol in the Terra ecosystem, his own use of the Anchor Protocol, and his interactions with

“aUST,” the digital asset received in exchange for deposits of UST on the Anchor Protocol. Compl.

¶¶ 2, 45, 72–73, 75, 83–84. In apparent response to Jump Trading’s first motion to compel—

which, inter alia, highlighted that Kim’s prior allegations referenced aUST “over 110 times” (Dkt.

No. 55 at 5)—Plaintiffs carefully delete from the Amended Complaint most of the references to

aUST and to the Anchor Protocol. Still, the Amended Complaint alleges that most of Plaintiffs’

UST tokens “were loaned to the ‘Anchor Protocol’” and that, as lenders, Plaintiffs “received a



7
    Specifically, the Anchor TOS state:
          Any claim or controversy arising out of or relating to the Interface, this Agreement,
          including any question regarding this Agreement’s existence, validity or termination, or
          any other acts or omissions for which you may contend that we are liable, including (but
          not limited to) any claim or controversy as to arbitrability (“Dispute”), shall be referred
          to and finally resolved by arbitration in Singapore in accordance with the Arbitration Rules
          of the Singapore International Arbitration Centre (“SIAC Rules”).
Amani Decl., Ex. A § 18 (emphasis added).

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depository receipt called ‘aUST,’ which entitled [Plaintiffs] at any time to reclaim their deposited

UST, plus interest.” Am. Compl. ¶ 130. According to Kim’s original allegations, high percentages

of UST were deposited into the Anchor Protocol because depositors were “promised returns of

nearly 20% interest.” Compl. ¶ 73. 8 That Plaintiffs have tactically omitted these allegations from

the Amended Complaint does not avoid the logical consequence of such facts: the Anchor Protocol

is central to the alleged manipulative scheme and the arbitration provision in the Anchor TOS is

binding on Plaintiffs.

III.    Plaintiffs Allege That TFL, Kwon, and Defendants Acted Together to Concoct a
        Scheme to Manipulate the Market and Defraud Purchasers of Terra Tokens.

        Although the Amended Complaint only names Jump and two senior personnel as

defendants, Plaintiffs allege that those defendants acted together with TFL and Kwon to carry out

the alleged manipulative scheme that is the central basis of their claims. Indeed, the omission of

Kwon and TFL as defendants is glaring given the leading role they allegedly played in the

purported scheme.

        The Amended Complaint opens with its core theory that “Defendants schemed with [Kwon

and TFL] to manipulate the market price for UST and to conceal their manipulation, for their own

benefit.” Am. Compl. ¶ 1. Similar allegations of such concerted misconduct then pervade the

Amended Complaint. See id. ¶ 4 (alleging that “TFL and Kwon secretly schemed with Defendants



8
  Similarly, the plaintiffs in the parallel Patterson class action filed in California have alleged that the
Anchor Protocol and its 20% fixed return on deposits were what drew them into the Terra ecosystem in the
first instance and that the Terra ecosystem lasted so long only because the 20% rate drove investment in
UST; otherwise, according to them, it would have collapsed much sooner. See Third Amended Compl. ¶
54, Patterson v. Terraform Labs, Pte. Ltd., No. 5:22-cv-03600, Dkt. No. 156 (N.D. Cal. Jan. 25, 2024)
(“Anchor was by far the most popular protocol in the Terra ecosystem.”); id. ¶ 178 (“Both the size of the
deposits in Anchor and the ballooning interest payments owed to investors became too much for the Terra
ecosystem to bear.”); see also Second Amended Compl. ¶ 26, Patterson v. Terraform Labs, Pte. Ltd., No.
5:22-cv-03600, Dkt. No. 102 (N.D. Cal. Feb. 23, 2023) (“[T]he Anchor Protocol was at [sic] the primary
driver of the Terra ecosystem’s collapse.”).

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to manipulate and pump the market price for UST by making secret, coordinated trades”); id. ¶ 74

(alleging that “TFL and Kwon secretly began scheming with Jump to artificially and covertly

inflate the price of UST”); id. ¶ 103 (alleging that “UST was not effectively pegged to $1, the TFL

algorithm used to maintain the UST peg had failed and was likely to fail in the future, and

Defendants had entered into a scheme to conceal these adverse facts, as well as to conceal their

manipulative actions in furtherance of the scheme and their ill-gotten proceeds from the purchasing

public”); id. ¶ 156 (“TFL, Kwon, and all Defendants implemented a scheme to have Jump make

significant purchases of UST to artificially restore its $1 peg.”).

        The scheme allegedly began when UST fell below its $1 peg in May 2021. Plaintiffs claim

that TFL “incentivize[d] . . . Jump” to manipulate the price of UST, see Am. Compl. ¶¶ 5, 57, and

that TFL, Kwon, and Defendants entered into a “secret agreement” to that effect. See id. ¶¶ 163,

177. And, according to Plaintiffs, per that agreement, Jump “interven[ed] to maintain the artificial

$1 peg for UST.” Id. ¶ 7. 9

        Then, as Plaintiffs tell it, TFL and Kwon hid Jump’s involvement from the public, and

Defendants “aided and abetted TFL’s and Kwon’s concealment of Jump’s May 2021 intervention.”

Am. Compl. ¶ 7; see also id. ¶¶ 170, 175 (asserting that “all Defendants willfully aided, abetted,

counseled, induced, or procured” both “TFL’s and Kwon’s manipulation of the price of UST” and

“material misstatements of fact and misleading omissions concerning Jump’s manipulation of

UST’s price”). Plaintiffs further claim that “TFL, Kwon, Kariya and other Jump representatives

falsely and misleadingly represented to the public that UST’s $1 peg had been restored by TFL’s




9
  Plaintiffs also cite to a complaint filed by the Securities and Exchange Commission against TFL and Kwon
in the Southern District of New York. They allege that this complaint stated that “a ‘U.S. Trading Firm’ …
had colluded with TFL and Kwon to restore UST’s artificial $1 peg,” and claim that Jump is that unnamed
firm. See Am. Compl. ¶ 9.

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automated algorithm (and not Jump’s direct, manual intervention).” See id. ¶ 86. Plaintiffs

similarly recite a list of statements allegedly made by TFL, Kwon, and certain Defendants in

furtherance of their purported scheme and which, importantly for Plaintiffs’ claims, “failed to

mention that it was Jump’s scheme with TFL and Kwon to manipulate the market for UST, and

not TFL’s algorithm, that had propped up the price of UST to its apparent $1 peg.” See id. ¶ 96;

see also id. ¶ 99 (alleging that “Kwon reiterated the false statement that UST maintained its $1 peg

in a ‘purely algorithmic kind of way,’ without disclosing the scheme to manipulate the price of

UST to maintain its apparent $1 peg”).

        Plaintiffs assert they were injured, along with other putative class members, by this alleged

coordinated and joint scheme because it had “the effect of artificially inflating and maintaining the

price of UST until its collapse in May 2022.” Am. Compl. ¶ 103.

                                          ARGUMENT

I.      The Existence of a Clear and Unmistakable Delegation Clause Requires This Matter
        Be Sent to Arbitration, Regardless of Defendants’ Status as Nonsignatories.

        That Plaintiffs agreed to the Anchor TOS, alongside its arbitration provision and delegation

clause, means that an arbitration tribunal—not the Court—must decide (i) whether nonsignatories

like Defendants can enforce the arbitration agreement and (ii) if Plaintiffs’ claims fall within the

broad scope of the arbitration provision. This conclusion follows from decisions by the Supreme

Court, Courts of Appeals around the country, and district courts in this Circuit (and others).

        A.     According to the Supreme Court, a Clear and Unmistakable Delegation
               Clause, Like That in the Anchor TOS, Requires This Matter Be Sent to
               Arbitration.

        “[P]arties can agree to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the

parties have agreed to arbitrate or whether their agreement covers a particular controversy,”

through a delegation clause. Holmes v. Diza Tacos Streeterville, LLC, No. 22 C 3378, 2023 WL


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1777463, at *2 (N.D. Ill. Feb. 6, 2023) (citation omitted). Where a contract delegates by “clear

and unmistakable evidence” threshold questions of arbitrability, the arbitrator, and not the court,

must resolve those questions. See id. (citing Henry Schein, Inc. v. Archer & White Sales, Inc., 586

U.S. 63, 69 (2019)).

        The Supreme Court has made clear that, when a contract contains a delegation clause, “a

court may not override the contract” and “possesses no power to decide the arbitrability issue.”

Henry Schein, 586 U.S. at 68 (emphasis added). In Henry Schein, the Court rejected the argument

that because the arbitration clause carved out certain types of disputes from its scope, a court could

ignore the delegation clause on the theory that the resulting argument for arbitration was “wholly

groundless.” Id. at 65–66, 68 (“[S]ome other Courts of Appeals have determined that the court

rather than an arbitrator should decide the threshold arbitrability question if, under the contract,

the argument for arbitration is wholly groundless . . . . We conclude that the ‘wholly groundless’

exception is inconsistent with the text of the Act and with our precedent.”). Thus, Henry Schein

leaves no doubt that, where a delegation clause exists, a court must allow an arbitrator to decide

threshold questions of arbitrability, irrespective of the court’s own views on the merits of those

questions. 10

        Here, there exists a valid agreement to arbitrate with a clear and unmistakable delegation

clause. The delegation clause explicitly states that “any claim or controversy as to arbitrability”



10
  The Supreme Court’s recent decision in Coinbase, Inc. v. Suski, 144 S. Ct. 1186 (2024), has not altered
Henry Schein’s rule. Indeed, the Supreme Court reiterated in Coinbase that where, as here, the signatories
“have agreed to only one contract, and that contract contains an arbitration clause with a delegation
provision, then, absent a successful challenge to the delegation provision, courts must send all arbitrability
disputes to arbitration.” 144 S. Ct. at 1194. In Coinbase, unlike in this case, the signatories had two
conflicting contracts, one sending arbitrability disputes to arbitration, and the other sending arbitrability
disputes to the courts. In that unique circumstance, the Supreme Court held that a court should decide
which contract governs, but specifically differentiated this dueling contract scenario from one where (as
here) there was only one contract at issue.

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shall be resolved by arbitration in Singapore. Amani Decl., Ex. A § 18. Courts have found similar

language to be sufficiently clear and unmistakable. See, e.g., Kuznik v. Hooters of Am., LLC, No.

1:20-CV-01255, 2020 WL 5983879, at *4 (C.D. Ill. Oct. 8, 2020) (finding arbitration provision

giving arbitrator power to decide “questions of arbitrability” and incorporating JAMS rules as

having “doubly satisfied” the requirement to clearly and unmistakably delegate); Hopkins v. Dell

Techs., Inc., No. 22-CV-2464-DWD, 2023 WL 3791722, at *6 (S.D. Ill. June 2, 2023) (finding

that arbitration provision that stated that “[t]he arbitrator shall have exclusive authority to resolve

any arbitrability issues” to “provide clear and unmistakable evidence of the parties’ intent to

delegate”); Loewen v. Lyft, Inc., 129 F. Supp. 3d 945, 954 (N.D. Cal. 2015) (finding clause that

required arbitration of questions of “the arbitrability of any dispute” to be a clear and unmistakable

delegation clause (citation omitted)), abrogated on other grounds by Henry Schein, 586 U.S. 63;

Reidt v. Advanced Mktg. & Processing, Inc., No. 23-CV-234-JDP, 2023 WL 8469772, at *3 (W.D.

Wis. Dec. 7, 2023) (“Cutting to the core, the delegation provision says: ‘Any claim or controversy

arising out of or relating to your use of our web site, . . . including but not limited to any claim or

controversy as to arbitrability, shall be finally and exclusively settled by binding arbitration.’ That

is a clear statement that questions of arbitrability are delegated to the arbitrator.” (citation omitted));

Moorman v. Charter Commc’ns, Inc., No. 18-CV-820-WMC, 2019 WL 1930116, at *7 (W.D. Wis.

May 1, 2019) (“Here, the language in the Agreement requiring that an arbitrator is to consider ‘all

disputes related to the arbitrability of any claim or controversy’ is ‘clea[r] and unmistakeabl[e]

evidence’ that the parties intended for gateway questions to be arbitrable.” (citation omitted)).

        The same is true for the clause’s provision that “any question regarding this Agreement’s

existence, validity or termination” is a question for the arbitration tribunal. See Grabowski v.

PlatePass, L.L.C., No. 20 C 7003, 2021 WL 1962379, at *4 (N.D. Ill. May 17, 2021) (finding



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clause that stated “all issues are for the arbitrator to decide, including his or her own jurisdiction,

and any objections with respect to the existence, scope or validity of this Arbitration Provision” to

constitute clear and unmistakable evidence of delegation); see also Swiger v. Rosette, 989 F.3d

501, 506 (6th Cir. 2021) (finding clause that stated “any issue concerning the validity,

enforceability, or scope of this . . . Agreement to Arbitrate” to be a clear and unmistakable

delegation clause); Mohamed v. Uber Techs., Inc., 848 F.3d 1201, 1209 (9th Cir. 2016) (finding,

as clear and unmistakable evidence of delegation, a clause that delegated to arbitrators issues

concerning “enforceability, revocability or validity of the Arbitration Provision”).

       Finally, the clause’s incorporation of the rules of the Singapore International Arbitration

Centre (“SIAC”) further supports a finding of clear and unmistakable delegation. SIAC Rule 28.1

states that the SIAC Court of Arbitration has the power to resolve questions regarding, or

challenges to, the “existence or validity of the arbitration agreement or to the competence of SIAC.”

See SIAC Rules 2016, SINGAPORE INTERNATIONAL ARBITRATION CENTRE (last visited

Sept. 26, 2024), https://siac.org.sg/siac-rules-2016. Similarly, SIAC Rule 28.2 states that the

“[t]ribunal shall have the power to rule on its own jurisdiction, including any objections with

respect to the existence, validity or scope of the arbitration agreement.” Id.

       Numerous courts have found that incorporating the rules of an arbitration organization like

SIAC into an arbitration clause, particularly where those rules give arbitrators the power to decide

threshold issues of arbitrability, similarly constitutes a clear and unmistakable delegation of

authority to the arbitrator to resolve threshold arbitrability disputes. See Pilot Inc. v. TYC Brother

Indus. Co., No. 2:20-CV-02978-ODW, 2020 WL 3833597, at *4 (C.D. Cal. July 8, 2020) (finding

incorporation of SIAC rules was a clear and unmistakable delegation of threshold arbitrability

questions to the arbitrator); Grabowski, 2021 WL 1962379, at *3–4 (agreeing with the “consensus



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view among federal courts” that incorporation of AAA rules is clear and unmistakable evidence

to delegate arbitrability); Portland Gen. Elec. Co. v. Liberty Mut. Ins. Co., 862 F.3d 981, 985 (9th

Cir. 2017) (finding clear and unmistakable delegation where agreement incorporated similar ICC

rules stating that the tribunal could rule on “the existence, validity or scope of the arbitration

agreement” or of the “jurisdiction”), as amended (Aug. 28, 2017). This is because those rules

“empower[] an arbitrator to decide the gateway arbitrability issues of validity and scope of the

arbitration clause” and provide that “[t]he arbitrator shall have the power to rule on his or her own

jurisdiction.” Ali v. Vehi-Ship, LLC, No. 17 CV 02688, 2017 WL 5890876, at *3 (N.D. Ill. Nov.

27, 2017) (citing AAA Rule 7(a) as stating that “[t]he arbitrator shall have the power to rule on his

or her own jurisdiction, including any objections with respect to the existence, scope, or validity

of the arbitration agreement or to the arbitrability of any claim or counterclaim”).

       Accordingly, not only does the plain text of the arbitration provision to which Plaintiffs

agreed delegate threshold arbitrability issues to the arbitrators, but so too does its incorporation of

the SIAC Rules. These each independently constitute clear and unmistakable delegation of

authority to the arbitration tribunal to resolve threshold arbitrability disputes.

       B.      Defendants’ Ability to Enforce the Arbitration Agreement as Nonsignatories
               Is an Arbitrability Question That Is Delegated to the Arbitrator.

       The question of whether Defendants, as nonsignatories, may enforce the arbitration

agreement must be resolved by the arbitration tribunal given the clear and unmistakable delegation

clause. First, that is because the question of whether a nonsignatory may compel arbitration is a

question of arbitrability (i.e., whether the nonsignatory may enforce the clause), as opposed to

contract formation. Second, that same conclusion is required by the FAA, 9 U.S.C. § 2, and case

law interpreting it, which governs the interpretation of arbitration agreements. And third, any




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reliance by Plaintiffs on a contrary minority view from other circuits violates Supreme Court

precedent and upends the expectations of contracting parties.

               1.      Whether nonsignatories may enforce an arbitration clause is a question of
                       arbitrability, not contract formation, that is delegated to the arbitrator.

       Whether Defendants can enforce the Anchor TOS’s agreement to arbitrate despite being

nonsignatories is precisely the kind of threshold question of arbitrability that, because of the

delegation clause, must be decided by an arbitration tribunal. As one court in this District already

held after Henry Schein, “the question of whether a purported nonsignatory” to an arbitration

agreement with a delegation clause “can enforce [that] arbitration agreement concerns a question

of arbitrability and, thus, must be decided by the arbitrator.” Grabowski, 2021 WL 1962379, at

*4; see also Coons v. Yum! Brands, Inc., 672 F. Supp. 3d 626, 635 (S.D. Ill. 2023) (finding

delegation clause that stated the arbitrator could decide questions “relating to the interpretation,

arbitrability, applicability, enforceability or formation of the agreement to arbitrate” to require the

arbitrator to determine whether a nonsignatory could enforce the contract); cf. Teamsters Loc.

Union No. 705 v. L. Neill Cartage Co., No. 19-CV-07176, 2021 WL 4477888, at *6 (N.D. Ill. Sept.

30, 2021) (stating in analogous labor arbitration context that “the issue of whether the . . . Panel’s

awards can be enforced against a nonsignatory . . . is a question of arbitrability”).

       This clear holding is consistent with the Supreme Court’s pronouncement that whether a

party should be bound by an arbitration contract, and therefore compelled to arbitrate a given

dispute, is a gateway question of “arbitrability.” See Howsam v. Dean Witter Reynolds, Inc., 537

U.S. 79, 84 (2002). Any objection that Plaintiffs may raise to this motion seeking arbitration of

their claims necessarily would raise a question of whether Defendants can enforce the arbitration

agreement against Plaintiffs, as signatories to the Anchor TOS. But that is exactly the sort of

question that the Supreme Court in Howsam found to be an exemplary “question of arbitrability.”


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Id. (stating that “a gateway dispute about whether the parties are bound by a given arbitration

clause raises a question of arbitrability”) (internal quotation marks omitted). In fact, Howsam

further suggested that questions about the rights of a nonsignatory to an arbitration contract also

raise an arbitrability issue. Id. (citing First Options of Chi., Inc. v. Kaplan, 514 U.S. 938 (1995),

which addressed “whether the arbitration contract bound parties who did not sign the agreement,”

as another example of an arbitrability question). 11 Thus, while courts may resolve issues of

contract formation, see, e.g., K.F.C. v. Snap Inc., 29 F.4th 835, 837 (7th Cir. 2022), the above

cases make it clear that whether a nonsignatory can take advantage of an arbitration provision is

an issue of enforcement of an arbitration clause in a contract, not contract formation.

        Although there appears to be no Seventh Circuit case squarely deciding whether a

nonsignatory’s enforcement of an arbitration provision is a gateway question for the arbitrators if

a delegation clause exists, the majority of other circuits have expressly concluded that it is. See

Apollo Comput., Inc. v. Berg, 886 F.2d 469, 473–74 (1st Cir. 1989) (holding that a nonsignatory’s

ability to enforce an arbitration agreement was for the arbitrator to decide); Blanton v. Domino’s

Pizza Franchising LLC, 962 F.3d 842, 852 (6th Cir. 2020) (holding that “the arbitrator should

decide for itself whether [a nonsignatory] can enforce the arbitration agreement”); Casa Arena

Blanca LLC v. Rainwater by Est. of Green, No. 21-2037, 2022 WL 839800, at *5 (10th Cir. Mar.

22, 2022) (holding that the district court erred in determining whether nonsignatory could enforce




11
   The court in Howsam was not asked to address whether a contractual delegation clause covered
arbitrability disputes and, accordingly, noted that, ordinarily, arbitrability questions are resolved by the
court. But, importantly, Howsam also reaffirmed the rule that questions of arbitrability are “issue[s] for
judicial determination [u]nless the parties clearly and unmistakably provide otherwise,” such as through a
delegation clause in the arbitration agreement. Howsam, 537 U.S. at 83 (citation omitted) (emphasis added)
(alteration in original). Here, as noted above, there is such a delegation clause and thus arbitrability issues
are to be decided by the arbitration tribunal. Supra at Argument, Section I.A.



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an arbitration agreement as a third-party beneficiary because, once the court determined there was

a delegation clause, “it should have sent the case to arbitration”); see also Newman v. Plains All

Am. Pipeline, L.P., 44 F.4th 251, 253–55 (5th Cir. 2022) (Jones, J., dissenting) (observing that the

Fifth Circuit’s position that a court should decide whether a nonsignatory may enforce an

arbitration agreement that contains a delegation clause was in conflict with “at least five” circuits;

citing in addition Eckert/Wordell Architects, Inc. v. FJM Props. of Willmar, LLC, 756 F.3d 1098,

1099 (8th Cir. 2014) and Contec Corp. v. Remote Sol. Co., 398 F.3d 205, 209–11 (2d Cir. 2005)

as adopting the position that an arbitrator must first decide whether a nonsignatory may enforce

the arbitration agreement). 12 Numerous district courts across the country have reached the same

conclusion. 13


12
   The Supreme Court recently confronted two petitions for writs of certiorari that highlighted this same
circuit split and noted the majority view in Defendants’ favor on this point. See, e.g., Petition for a Writ of
Certiorari, Homeservices of Am., Inc. v. Burnett, No. 23-840 (U.S. Feb. 2, 2024) (highlighting circuit split
in which the First, Second, Third, and Sixth Circuits held the question is for the arbitrator ); see also Petition
for a Writ of Certiorari, Tug Hill Operating, LLC v. Rogers, No. 23-661 (U.S. Dec. 15, 2023) (noting that
five Courts of Appeals—the First, Second, Sixth, Eighth, and Tenth Circuits—leave the question to the
arbitrator).
13
  See, e.g., Ford-Allemand v. Piedmont Nat. Gas Co., No. 1:20-CV-00192-MRB, 2022 WL 3576227, at
*3 (S.D. Ohio Aug. 19, 2022) (arbitrator, not court, was required to decide whether defendant nonsignatory
could enforce arbitration provision against plaintiff signatory); Bossart v. Gen. Motors LLC, No. 20-CV-
11057, 2022 WL 3573855, at *3–4 (E.D. Mich. Aug. 19, 2022) (arbitrator was required to decide whether
defendant nonsignatory could enforce arbitration provision against plaintiff signatory); Cunningham v.
Ford Motor Co., No. 21-CV-10781, 2022 WL 2819115, at *5–6 (E.D. Mich. July 19, 2022) (arbitrator was
required to decide whether defendant nonsignatory could enforce arbitration provision against plaintiff
signatory); Williams v. Staffmark Inv. LLC, No. 21-CV-2456-EFM-GEB, 2022 WL 910859, at *3–4 (D.
Kan. Mar. 29, 2022) (arbitrator was required to decide whether defendant nonsignatory could enforce
arbitration provision against plaintiff signatory as a third-party beneficiary); Henry v. Vantage Credit Union,
No. 4:20-CV-01865-SRC, 2021 WL 2187908, at *7 (E.D. Mo. May 28, 2021) (arbitrator was required to
decide whether defendant nonsignatory could enforce arbitration provision against plaintiff signatory); In
re Intuniv Antitrust Litig., No. 1:16-CV-12653-ADB, 2021 WL 517386, at *3–8 (D. Mass. Feb. 11, 2021)
(arbitrator was required to decide whether defendant nonsignatory could enforce arbitration provision
against plaintiff signatory under an equitable estoppel theory); Symonds v. Credico (USA) LLC, No. 1:20-
CV-10192-ADB, 2020 WL 7075028, at *5–6 (D. Mass. Dec. 3, 2020) (arbitrator was required to decide
whether defendant nonsignatory could enforce arbitration provision against plaintiff signatory either as a
third-party beneficiary or under an equitable estoppel theory); Robertson v. Enbridge (U.S.) Inc., No. 19-
1080, 2020 WL 9211171, at *3–4 & *4 n.3 (W.D. Pa. Aug. 4, 2020) (arbitrator was required to decide


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        This Court should adopt the majority view—which, as shown above, fully comports with

how the Supreme Court in Howsam has defined questions of arbitrability—and hold that the

threshold question of whether the nonsignatory Defendants here can enforce the arbitration

provision must be resolved by the arbitration tribunal given the broad delegation clause that

indisputably exists in the contract and that delegates this issue to arbitration.

                2.       Statutes and case law further support that whether a nonsignatory can
                         enforce an arbitration provision is a question of enforceability delegated
                         to the arbitrator, and not a question of contract formation.

        The Supreme Court has interpreted the language of Section 2 of the FAA to place

arbitration provisions “upon the same footing as other contracts.” Arthur Andersen LLP v. Carlisle,

556 U.S. 624, 629–30 (2009) (citation omitted). Accordingly, the same theories that apply outside

the arbitration context to determine whether a contract can be “enforced by or against” a

nonsignatory similarly apply to arbitration clauses. Id. at 631 (“‘[T]raditional principles’ of state

law allow a contract to be enforced by or against nonparties to the contract through ‘assumption,

piercing the corporate veil, alter ego, incorporation by reference, third-party beneficiary theories,

waiver and estoppel.’” (internal citations omitted) (emphasis added)).                   Thus, because a

nonsignatory’s ability to take advantage of a provision in a contract is generally one of




whether defendant nonsignatories could enforce arbitration provision against plaintiff signatory under an
equitable estoppel theory) (R. & R.); Turner v. PillPack, Inc., No. 5:18-CV-66-TBR, 2019 WL 2314673,
at *3–6 (W.D. Ky. May 30, 2019) (pending a threshold determination that the plaintiff signatory assented
to the relevant arbitration provision, arbitrator was required to decide whether defendant nonsignatory could
enforce arbitration provision against plaintiff signatory either as a third-party beneficiary or “under an
estoppel theory”); De Angelis v. Icon Ent. Grp. Inc., 364 F. Supp. 3d 787, 794–97 (S.D. Ohio 2019)
(arbitrator was required to decide whether defendant nonsignatory could enforce arbitration provision
against plaintiff signatory); Jacobsen Gravel Co. v. IronPlanet, Inc., No. 16-2619 (RHK/LIB), 2016 WL
10879837, at *1–4 (D. Minn. Nov. 10, 2016) (arbitrator was required to decide whether defendant
nonsignatory could enforce arbitration provision against plaintiff signatory); Visibility Corp. v. Schilling
Robotics, LLC, No. 10-12280-JGD, 2011 WL 5075816, at *1, *3–5 (D. Mass. Oct. 25, 2011) (arbitrator
was required to decide whether defendant nonsignatories could enforce arbitration provision against
plaintiff signatory under an assignment theory).

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“enforcement,” and not contract formation, that party’s ability to take advantage of an arbitration

provision is likewise one of “enforcement”—as numerous courts have so held. See, e.g., Swiger,

989 F.3d at 507 (“[W]hether a nonsignatory can enforce the arbitration agreement is a question of

the enforceability of the arbitration clause, as to that defendant.” (internal brackets and quotation

marks omitted)).

       Similarly, outside the arbitration context, when deciding whether a nonsignatory may

enforce an agreement, courts ask only whether that nonsignatory is permitted to enforce the

contract or its terms, not whether a contract was formed with the nonsignatory in the first place.

See, e.g., Ahern v. Bd. Of Educ. of City of Chi., 133 F.3d 975, 983 (7th Cir. 1998) (stating Illinois

legal standard for third-party beneficiaries to “enforce the Plan” (emphasis added)). That makes

sense because a nonsignatory to any contract, by definition, is never a contracting party, yet that

person may nonetheless be entitled to enforce the rights established by that contract. The fact that

a nonsignatory seeks to enforce an arbitration provision does not transform that enforcement

question into one of contract formation. Here, a contract was indisputably formed, and the only

question is whether nonsignatories can enforce it. Any other conclusion would violate Section 2

of the FAA, which requires courts to treat arbitration agreements identically to other contracts.

       By broadly delegating “arbitrability” disputes to the arbitrator, the Anchor TOS require

that an arbitration tribunal, not the Court, decide the threshold questions of whether Defendants

can enforce the arbitration agreement and whether Plaintiffs, as signatories to the arbitration

agreement, are estopped from avoiding arbitration. Defendants’ ability to enforce the agreement

is not a contract formation question. In light of the delegation clause, this Court’s role is limited

to determining whether an arbitration agreement exists. Such an agreement clearly does. All




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subsequent decisions are for the arbitrators, including whether Defendants are entitled to enforce

arbitration under this agreement.

                3.      The reasoning of a minority of circuit courts upends the contracting
                        parties’ expectations for delegation clauses.

        Plaintiffs will surely ask this Court to align itself with the minority of courts that have held

to the contrary, including the California district court in Patterson, which is now on appeal.

Patterson v. Jump Trading LLC, 710 F. Supp. 3d 692 (N.D. Cal. 2024). 14 This Court should

decline to do so and instead adopt the majority rule. The minority rule is not the law of this Circuit.

It also fundamentally misconceives how delegation clauses are written by asking a court to decide

at the outset whether the signatories designated specific arbitrability questions to the arbitrator.

See, e.g., id. at *7 (“But Jump’s position can prevail only if there is clear and unmistakable

evidence that [Plaintiff’s] agreement includes an agreement to arbitrate the question of whether a

third party nonsignatory to the agreement like Jump is entitled to enforce the agreement.”).

        Here, the delegation clause in the Anchor TOS specifically provides that “any claim or

controversy as to arbitrability” must be resolved by arbitration. Amani Decl., Ex. A § 18 (emphasis

added). This reflects the signatories’ intent to give an expansive meaning to the types of

arbitrability issues encompassed by that clause. See Patel v. Garland, 596 U.S. 328, 338 (2022)

(“As this Court has repeatedly explained, the word ‘any’ has an expansive meaning.” (internal

quotation marks omitted) (citing Webster’s Third New International Dictionary at 97 (defining

“any” as “one or some indiscriminately of whatever kind”))).



14
  The California district court’s decision in Patterson relied on Kramer v. Toyota Motor Corp., 705 F.3d
1122 (9th Cir. 2013). However, as Jump Trading explained in its pending appeal before the Ninth Circuit,
the Supreme Court’s ruling in Henry Schein abrogated Kramer. Appellant’s Op. Br. 35–36, Patterson v.
Jump Trading, LLC, No. 24-670, Dkt. No. 13.1 (9th Cir. May 28, 2024). Regardless, even if the district
court in California was bound by erroneous Ninth Circuit precedent, this Court is not, and should instead
adopt the majority view.

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        Moreover, courts interpret the term “arbitrability” to include all threshold questions of

arbitrability, not simply ones concerning the arbitration clause’s scope, i.e., whether an issue is

subject to arbitration under the agreement. See, e.g., Kuznik, 2020 WL 5983879, at *4–5 (noting

that arbitrability involves “gateway matters” and rejecting argument that “‘questions of

arbitrability’ are questions regarding the scope” only) (citing Herrington v. Waterstone Mortg.

Corp., 907 F.3d 502, 506 (7th Cir. 2018)). Where, as here, the agreement includes a broad

delegation clause—stating that “any” arbitrability dispute must first be resolved by the arbitration

tribunal—courts recognize that such a “garden-variety” clause should be construed to commit all

arbitrability questions to the arbitration tribunal because “questions of arbitrability ‘are typically

delegated or preserved as a group,’ and . . . the Supreme Court ha[s] ‘spoken of questions of

arbitrability as a unitary category.’” Attix v. Carrington Mortg. Servs., LLC, 35 F.4th 1284, 1301–

02 (11th Cir. 2022) (emphasis added); Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68–69

(2010) (“The delegation provision is an agreement to arbitrate threshold issues .... [P]arties can

agree to arbitrate gateway questions of arbitrability.” (emphases added) (internal quotation marks

omitted)). The only matter excepted out of this broad formulation is one related to contract

formation. But, for the reasons addressed above, whether a nonsignatory can take advantage of an

arbitration provision must be considered an issue of arbitrability, not one of contract formation.

See supra Argument, Sections I.B.1 and I.B.2.

        Thus, because there is a valid arbitration agreement containing a broad delegation clause

that is clear and unmistakable, this dispute must be sent to arbitration. All other questions,

including whether Defendants, as nonsignatories, may enforce the arbitration provision through a

theory of equitable estoppel, are questions for the arbitration tribunal (and not questions of contract

formation that are left to the courts).



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II.      Even If This Court Were to Decide Whether Defendants May Compel Arbitration,
         Plaintiffs Should Be Equitably Estopped From Avoiding Arbitration.

         Even if the Court were to decide that the question of whether Defendants can enforce the

arbitration agreement is not delegated to an arbitrator, then, on the merits of that question, this

Court should find that Plaintiffs are equitably estopped under federal common law from avoiding

arbitration with Defendants.

         A.     Federal Common Law Supplies the Equitable Estoppel Test.

         Federal common law, rather than state law, provides the relevant law of equitable estoppel

governing whether Defendants, as nonsignatories, may enforce international arbitral agreements.

The present arbitration agreement is governed by the Convention on the Recognition and

Enforcement of Foreign Arbitral Awards (the “New York Convention”) because TFL, as signatory

to the contract, is not a citizen of the United States. 15 In such cases, federal common law

determines the enforceability of the arbitration provision by nonsignatories. See, e.g., Setty v.

Shrinivas Sugandhalaya LLP, 3 F.4th 1166, 1168 (9th Cir. 2021) (“In cases involving the New

York Convention, in determining the arbitrability of federal claims by or against non-signatories

to an arbitration agreement, we apply ‘federal substantive law,’ for which we look to ‘ordinary

contract and agency principles.’” (internal citations omitted)); Outokumpu Stainless USA, LLC v.

Coverteam SAS, No. 17-10944, 2022 WL 2643936, at *6 (11th Cir. July 8, 2022) (Tjoflat, J.,

concurring) (noting that federal law applies to disputed questions regarding enforcement of



15
   The New York Convention and its implementing legislation govern the enforcement and recognition of
“an arbitration agreement or arbitral award arising out of a legal relationship” that is considered as
commercial and, as a general matter, not “entirely between citizens of the United States.” See 9 U.S.C. §
202. Here, the Anchor TOS are a commercial agreement between TFL, a company incorporated, and with
its principal place of business, in Singapore, see Mot. to Dismiss and Compel at 18, Patterson v. Terraform
Labs, Pte. Ltd., No. 5:22-cv-03600, Dkt. No. 122 (N.D. Cal. May 8, 2023), and Plaintiffs, all United States
citizens, see Am. Compl. ¶¶ 12–15. Therefore, the New York Convention and its implementing legislation
under the Federal Arbitration Act, see 9 U.S.C. § 201 et seq., apply.

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international arbitral agreements by nonsignatories because there is a “uniquely federal interest”

in this issue and “allowing each state or international law to impose its own test for threshold

questions of arbitrability would create an unmanageable tangle of arbitration law in the United

States”); see also Boyle v. United Techs. Corp., 487 U.S. 500, 507 (1988) (holding that federal law

should apply if there is a federal interest and state law would frustrate that interest); Certain

Underwriters at Lloyd’s London v. Argonaut Ins. Co., 500 F.3d 571, 581 (7th Cir. 2007) (finding

federal common law applied to interpretation of international arbitral agreements and stating, “[i]n

sum, the substantial federal interests in uniform interpretation of agreements under the [New York]

Convention justify the application of a uniform rule of decision on the question presented”).

       Thus, federal common law governs the determination of whether Plaintiffs are equitably

estopped from avoiding arbitration with Defendants.

       B.      Defendants May Invoke Equitable Estoppel to Compel Arbitration of This
               Dispute.

       Under federal common law principles of equitable estoppel, Plaintiffs must arbitrate their

dispute because they allege that Defendants engaged in interdependent and concerted misconduct

with TFL, a signatory to the arbitration agreement—indeed, that theory pervades the Amended

Complaint. The law does not permit Plaintiffs, as signatories to an arbitration agreement, to avoid

arbitration by suing nonsignatories allegedly liable for scheming with the very same signatories

whom Plaintiffs have strategically elected not to sue.

       Equitable estoppel applies under federal law in either of two scenarios: (1) when the claims

rely on the terms of the contract or (2) when the claims arise out of allegations of interdependent

and concerted misconduct between a signatory and a nonsignatory. Sosa v. Onfido, Inc., 8 F.4th

631, 641–42 (7th Cir. 2021) (recognizing this as the “federal standard”); Leff v. Deutsche Bank

AG, No. 08-CV-733, 2009 WL 1380819, at *5 (N.D. Ill. May 14, 2009) (collecting cases); see also


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Llagas v. Sealift Holdings, Inc., No. 23-30047, 2023 WL 8613607, at *3 (5th Cir. Dec. 13, 2023)

(citing Grigson v. Creative Artists Agency, L.L.C., 210 F.3d 524 (5th Cir. 2000)); cf. Bufkin Enters.,

L.L.C. v. Indian Harbor Ins. Co., 96 F.4th 726, 731 n.4 (5th Cir. 2024) (noting that even the

existence of only the second scenario would be sufficient to compel arbitration).

       Courts in this District have repeatedly held that equitable estoppel under federal common

law applies where a plaintiff alleges that the nonsignatory defendant entered into a scheme with a

signatory. See, e.g., Leff, 2009 WL 1380819, at *5 (finding equitable estoppel applied where

“Plaintiffs’ claims are premised on the theory that Deutsche Bank and others, including

Counterpoint and Delta, entered into a conspiracy and/or engaged in a scheme to develop and

market ‘illegal’ tax strategies”); see also Holden v. Deloitte & Touche LLP, 390 F. Supp. 2d 752,

764–67 (N.D. Ill. 2005) (applying federal law to find arbitration was properly compelled under

“concerted misconduct” theory where the complaint alleged all defendants’ conduct shared the

central goal of “effectuation of the S[tock] P[urchase] A[greement]”); Hoffman v. Deloitte &

Touche, LLP, 143 F. Supp. 2d 995, 1005 (N.D. Ill. 2001) (compelling arbitration with

nonsignatories and stating that “plaintiffs claim that all the defendants conspired to induce them

to participate in the roll-up . . . . The claims thus raise allegations of substantially interdependent

and concerted misconduct by both the signatory (EPS) and the non-signatories.”).

       Accordingly, Plaintiffs must be compelled to arbitrate. The entire thrust of the Amended

Complaint is that Defendants entered into a “scheme” with TFL and aided and abetted TFL in

manipulating the price of commodities. Am. Compl. ¶¶ 1, 4, 74, 103, 156, 163, 170, 175–77.

Underscoring the centrality of such allegations, Plaintiffs open their Amended Complaint with the

assertion that “Defendants schemed with [Kwon and TFL] to manipulate the market price for UST

and to conceal their manipulation.” Id. ¶ 1. As noted, Plaintiffs then continuously claim that TFL



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and Kwon schemed with Defendants to prop up the price of UST. See, e.g., id. ¶¶ 4, 74, 156. They

allege that TFL and Kwon did so by incentivizing Defendants with a secret agreement and that

Defendants then intervened pursuant to this joint scheme to purchase UST to restore its peg to $1.

See id. ¶¶ 5, 7, 57, 163, 177. Plaintiffs then claim that Defendants worked with TFL and Kwon to

hide their purported scheme. See id. ¶¶ 7, 86, 96, 99, 170, 175. Plaintiffs point to statements that

purportedly hid the alleged restoration of UST’s peg to $1 from the public, and, in fact, attribute

these statements interchangeably (and improperly) among certain Defendants, TFL, and Kwon.

See, e.g., id. ¶¶ 86–88, 93, 94, 96–103. Plaintiffs also explicitly state that Defendants “aided and

abetted” TFL’s alleged fraud and expressly assert a claim against Defendants for the same. See id.

¶¶ 6, 7, 170, 175.

        The Amended Complaint thus alleges, and Plaintiffs’ theory of the case relies upon,

substantially interdependent and concerted misconduct between Defendants (nonsignatories) and

TFL (a signatory). Had Plaintiffs sued TFL, their claims would have been sent to arbitration. In

such circumstances, federal principles of equitable estoppel preclude Plaintiffs from avoiding

arbitration of their claims against Defendants. 16




16
  Although the California district court in Patterson found that plaintiffs in that case were not estopped
from avoiding arbitration of their claims against Jump Trading, the court based its decision on the erroneous
conclusion that the Ninth Circuit does not recognize “concerted misconduct” as a ground to apply equitable
estoppel. Patterson, 710 F. Supp. 3d at 709. Other courts in the Ninth Circuit have held that the Ninth
Circuit’s standard for equitable estoppel “is satisfied where a signatory ‘raises allegations of collusive
misconduct between the nonsignatory and other signatories.’” Am. Chung Nam, LLC v. Mitsui O.S.K. Lines,
Ltd., No. 2:23-CV-07676-SB-JPR, 2023 WL 8845213, at *8 (C.D. Cal. Dec. 19, 2023) (citation omitted);
MouseBelt Labs Pte. Ltd. v. Armstrong, 674 F. Supp. 3d 728, 742 (N.D. Cal. 2023) (same). In any event,
as noted above, the Seventh Circuit has recognized expressly that, under federal common law, “equitable
estoppel may apply to enforce an arbitration provision where (1) the signatory references to or presumes
the existence of a written agreement in asserting its claims against a non-signatory, or (2) the signatory
raises allegations of substantially interdependent and concerted misconduct by both the non-signatory and
one or more signatories to the contract.” Sosa, 8 F.4th at 641–42 (internal quotation marks and citation
omitted).

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III.    This Dispute Falls Within the Scope of the Anchor TOS’s Broad Arbitration Clause.

        If the Court first determines that it should decide whether Defendants can enforce the

agreement (though, for the reasons set forth above, it should not), and then finds that federal law

equitably estops Plaintiffs from avoiding arbitration, that ends the matter, because the delegation

clause requires an arbitrator to determine whether Plaintiffs’ claims fall within the scope of the

arbitration provision. 17 But even were this Court to independently analyze the separate textual

issue of whether Plaintiffs’ claims fall within the express scope of the arbitration clause, the Court

should conclude that this dispute is subject to the arbitration provision.

        The arbitration clause here applies to “[a]ny claim or controversy arising out of or relating

to” certain subjects. Amani Decl., Ex. A § 18. The terms “arising out of” and “relating to” indicate

an “extremely broad” arbitration clause “capable of an expansive reach.” Kiefer Specialty

Flooring, Inc. v. Tarkett, Inc., 174 F.3d 907, 909–10 (7th Cir. 1999). In fact, broad clauses such

as this “necessarily create a presumption of arbitrability.” Id. Accordingly, courts in this Circuit

routinely interpret such clauses as “encompassing claims even tangentially related to the

agreements.” Patterson 357, LLC v. Heidelberg Materials Midwest Agg, Inc., No. 23-CV-02831,

2024 WL 1301331, at *5 (N.D. Ill. Mar. 27, 2024) (citing Gore v. Alltel Commc’ns, LLC, 666 F.3d

1027, 1036 (7th Cir. 2012)). Here, the broad arbitration clause at issue requires that Plaintiffs’




17
   That is because any further question about whether the specific claims that Plaintiffs bring against
Defendants fall within the scope of the arbitration clause are left to the arbitrator given the broad delegation
clause in the contract. See Henry Schein, 586 U.S. at 68 (“When the parties’ contract delegates the
arbitrability question to an arbitrator, a court may not override the contract. In those circumstances, a court
possesses no power to decide the arbitrability issue.”); see also Wilhelm v. BAM Trading Servs., Inc., No.
23 CV 14906, 2024 WL 2274326, at *3 (N.D. Ill. May 20, 2024) (“Through a delegation clause, parties
may manifest such clear and unmistakable intent ‘to have an arbitrator decide . . . gateway questions of
arbitrability, such as whether the parties have agreed to arbitrate or whether their agreement covers a
particular controversy.’” (citation omitted)); see also supra Argument, Section I.

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claims be sent to arbitration because the underlying factual allegations more than tangentially

relate to the subjects that the Anchor TOS state must be arbitrated.

        The Anchor TOS’s arbitration clause explicitly covers the claims at issue here because it

includes an agreement to arbitrate “[a]ny claim or controversy arising out of or relating to . . . any

other acts or omissions for which [Plaintiffs] may contend that [TFL] [is] liable.” See Amani Decl.,

Ex. A § 18 (emphasis added). Here, the dispute—asserting that Defendants and TFL jointly

concocted a scheme to deceive alleged investors—is certainly about conduct for which Plaintiffs

“may contend” that TFL is liable. Indeed, Plaintiffs’ aiding and abetting claim against Defendants

requires, inter alia, that they prove TFL committed a primary violation of the commodities laws.

See Damato v. Hermanson, 153 F.3d 464, 470 (7th Cir. 1998) (concerning the Commodities

Exchange Act, stating, “[b]y definition, an aider and abettor knowingly contributes to the

principal’s violation, rather than committing an independent violation of its own”); Tatum v. Legg

Mason Wood Walker, Inc., 83 F.3d 121, 123 n.3 (5th Cir. 1996) (“In order to recover damages

from a secondary party in an action for ‘aiding and abetting’ liability under the Commodities

Exchange Act, a plaintiff must first prove that a primary party committed a commodities

violation.”) 18

        Plaintiffs’ claims are also independently covered by the arbitration provision because they

“aris[e] out of or relat[e] to the Interface [or] this Agreement,” i.e., the Anchor Protocol or the

Anchor TOS (see Amani Decl., Ex. A Preamble), both because Plaintiffs’ claims relate to their use

of the Anchor Protocol and because deciding such claims requires interpreting provisions of the

Anchor TOS.


18
  Indeed, Plaintiffs allege in the Amended Complaint that the SEC sued TFL for the same alleged
misconduct on which Plaintiffs base their claims, namely alleged collusion with Defendants “to restore
UST’s artificial $1 peg.” Am. Compl. ¶ 9.

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        With respect to the Anchor Protocol, the harm that Plaintiffs claim they suffered is related

to and arises out of their use of the Anchor Protocol. As noted, Plaintiffs allege that over 95% of

their “UST losses are attributable to UST tokens that [they] loaned to the ‘Anchor Protocol.’” Am.

Compl. ¶ 130. 19 Plaintiffs attempt to distance their claims from the Anchor Protocol by averring

that they are not seeking to recover in this action “any decrease in the value of aUST or any

expected returns from lending UST through the Anchor Protocol.” Am. Compl. ¶ 131. In that

regard, Plaintiffs apparently indicate that they are willing to forego using the decline in aUST’s

value as a basis for calculating their damages. To the extent that “concession” even makes sense,

Plaintiffs’ other allegations still show that the Anchor Protocol is central to their case, as they

allege elsewhere that they “loaned [the majority of their UST tokens] to the ‘Anchor Protocol’”

and that “approximately three-quarters of all UST holdings were held in such manner by the Class.”

Am. Compl. ¶ 130. Thus, as alleged, most of Plaintiffs’ UST holdings that lost value, and for

which Plaintiffs are seeking damages, were UST that Plaintiffs deposited into the Anchor Protocol,

via their use of the Interface. Am. Compl. ¶ 130. Therefore, Plaintiffs’ claims certainly “arise out

of and relate to” the Interface through which market participants accessed the Anchor Protocol.

        Plaintiffs’ claims also relate to the Anchor TOS because the Anchor TOS may limit, or

otherwise impact, Plaintiffs’ ability to prevail on their claims. See Amani Decl., Ex. A. For

instance, Plaintiffs presumably will contend in this case that their decision to buy UST and loan it

to the Anchor Protocol was based, at least in part, on the purported promise that the Anchor

deposits would yield a 20% interest rate, as Kim alleged in the original Complaint. Compl. ¶ 73.

But, in subscribing to the Anchor TOS, Plaintiffs agreed that the 20% interest rate was “not a



19
  In his original Complaint, Plaintiff Kim alleged that he exchanged over 95.7% of his UST holdings for
aUST using the Anchor Protocol. Compl. ¶¶ 83–84.

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promise” or “guarantee” and was “a forward-looking projection based on a good faith belief of

how to reasonably project results over the relevant period . . . subject to numerous assumptions,

risks and uncertainties.” See Amani Decl., Ex. A § 10. By subscribing to the Anchor TOS,

Plaintiffs also accepted the risk of a declining value in their tokens—having been warned that the

purchase of UST tokens could be affected by “technology” or “speculation,” see id. at § 14—and

were explicitly told that “you may still suffer a financial loss in fiat-denominated terms if the fiat-

denominated value of the relevant tokens . . . declines during the deposit period.” Id. at § 10. That

means that litigating Plaintiffs’ claims—including their core claim that they suffered damages

from a decline in UST’s value that they had no reason to anticipate—will require interpreting the

terms of the Anchor TOS.

         Additionally, Plaintiffs’ allegations place at issue whether, after depositing their UST into

the Anchor Protocol and receiving aUST in exchange for those deposits, Plaintiffs maintained title

to the underlying UST deposits on which Plaintiffs purport to base their damages. Am. Compl. ¶

130 (alleging that “[t]itle to all UST loaned to the Anchor Protocol remained with the named

Plaintiff at all times, including while the UST tokens were loaned through the Anchor

Protocol . . . .”); see also id. ¶¶ 121, 123, 125, 127. Resolution of that issue implicates certain

terms in the Anchor TOS, such as whether the Interface acted as the owner or custodian of the

UST deposits in the Anchor. Amani Decl., Ex. A § 23.

         In short, although an arbitration tribunal should determine whether Plaintiffs’ claims fall

within the scope of the arbitration provision given the delegation clause, if the Court takes up the

question itself, the Court should conclude that the claims fall within the arbitration clause’s broad

scope.




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IV.     If the Court Compels Arbitration of Only Some of Plaintiffs’ Claims, Any
        Remaining Claims Should Be Stayed.

        If the Court were to itself determine the arbitrability questions and find that some, but not

all, of Plaintiffs’ claims should be arbitrated, it should exercise its discretion to stay the

nonarbitrable claims pending resolution of the arbitration to avoid inconsistent rulings and to

potentially narrow the issues. See Volkswagen of Am., Inc. v. Sud’s of Peoria, Inc., 474 F.3d 966,

972 (7th Cir. 2007) (“The factors that bear on this inquiry include ‘the risk of inconsistent rulings,

the extent to which parties will be bound by the arbitrators’ decision, and the prejudice that may

result from delays . . . [D]istrict courts actually may prefer to stay the balance of the case in the

hope that the arbitration might help resolve, or at least shed some light on, the issues remaining in

federal court.” (internal citation omitted)).

        In particular, the arbitration tribunal will have to decide many factual issues that overlap

with any nonarbitrable claim. For example, each of Plaintiffs’ three claims—for commodities

manipulation, aiding and abetting, and unjust enrichment—requires finding that the price of the

alleged underlying commodity was manipulated, with Defendants’ knowledge, or that Defendants,

TFL, or Kwon made materially misleading statements. They would also require proof that

Plaintiffs were harmed by the alleged conduct. 20 Thus, while the Court should compel arbitration

as to all claims, in the event that it compels arbitration of only some of them, staying the

nonarbitrable claims would promote judicial economy and the efficient conduct of the proceedings.

                                            CONCLUSION

        For the reasons stated above, Defendants respectfully request that this Court compel

arbitration of Plaintiffs’ claims and stay any remaining claims not sent to arbitration.



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  Further, as explained in Jump Trading’s and Kariya’s motion to dismiss the original Complaint, Plaintiffs’
unjust enrichment claim “will stand or fall with the related claim.” See Dkt. No. 56 at 25.

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Dated:     September 26, 2024                    Respectfully submitted,


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